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IN THE UNITEI) STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: §
1 §
ERIN ENERGY CORPORATION, et al., § Case No. 18-32106
§
Debtors. § Chapter 11
§
§ (Joint Administration Requested)

I)ECLARATION OF SAKIRU ADEFEMI (FEMI) AYOADE IN SUPPORT OF
THE DEBT()RS’ CHAPTER 11 PETITIONS AND FIRST I)AY MOTIONS

Pursuant to 28 U.S.C. § 1746, I, Sakiru Adefemi (Femi) Ayoade, hereby submit this
declaration (this “Decla;ration”) under penalty of perjury:

l. l am the Chief Executive Officer of Erin Energy Corporation (“ERN”), a publicly
traded corporation organized under the laws of Delaware and one of the above-captioned debtors
and debtors in possession (the “Debtors”). I have served as CEO of ERN since May 18, 2017.

2. In such capacity, l am generally familiar with the Debtors’ day-to-day operations,
business and financial affairs, and books and records. Except as otherwise indicated herein, all
facts set forth in this Declaration are based upon my personal knowledge of the Debtors’
employees, operations, and finances; information learned from my review of relevant
documents; information supplied to me by other members of ERN’s management and its
advisors; or my opinion based on my experience, knowledge, and information concerning the

Debtors’ operations and financial condition l am over the age of 18 and authorized to Submit

 

l The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77 056.

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this Declaration on behalf of the Debtors, and, if called upon to testify, l could and would
competently testify to the facts set forth herein.

3. To effectuate this restructuring on April 25, 2018, the Debtors filed voluntary
petitions for relief (the “Bankruptcy Cases”) under chapter ll of the United States Bankruptcy
Code, ll U.S.C. §§ lOl - 1532, in the United States Bankruptcy Court for the Southern District
of Texas (the “Court”). To minimize the adverse effects on their businesses, the Debtors have
filed motions seeking Various types of “first day” relief (the “First Day Motions”) to allow the
Debtors to meet their obligations and fulfill their duties as debtors in possession l am familiar
with the contents of each First Day Motion and believe that the relief sought in each is necessary
to enable the Debtors to operate in chapter ll with minimal disruption or loss of productivity and
value. I further believe that the relief sought in each First Day Motion constitutes a critical
element in achieving a successful reorganization of the Debtors’ businesses, and best serves the
Debtors’ estates and creditors’ interests. The facts set forth in each First Day Motion are
incorporated herein by reference

4. This Declaration has been organized into four sections. Section l provides
background information on the Debtors and their operations Section 2 offers information on
the Debtors’ debt and capital structure2 Section 3 describes the events leading to the filing of
these Bankruptcy Cases and the Debtors’ prepetition restructuring efforts Section 4 summarizes

the relief requested in, and the legal and factual basis supporting, the First Day Motions.

 

2 Many of the financial figures that will be presented in this Declaration are unaudited and potentially subject to
change, but reflect the Debtors’ most recent review of their businesses The Debtors reserve all rights to revise and
supplement the figures presented herein

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I. COMPANY OVERVIEW
A. Erin’s Historv and Hierarchv

5. On April 7, 2010, Pacific Asia Petroleum, Inc. (“PAP”), a Delaware corporation,
consummated the acquisition of all of the interests held by CAMAC Energy Holdings Limited
(“CEHL”) and certain of its affiliates (collectively, “CAMAC”) in a Production Sharing Contract
with respect to an oilfield asset known as the Oyo Field located offshore Nigeria (the “Contract
Rights”). The Oyo Field was under development through 2009, and oil production commenced
in December 2009. As consideration for the Contract Rights, PAP paid CEHL $32 million in
cash consideration and issued to CEHL 89,467,120 shares of ERN’s Cornmon Stock, par value
$0.001, representing approximately 62.74% of the Company’s issued and outstanding Common
Stock at closing. ln April 2010, PAP was renamed CAMAC Energy Inc. Further, in April 2015,
CAMAC Energy lnc. changed its name to "Erin Energy Corporation.”

6. Today, ERN operates as an independent oil and gas exploration and production
(“E&P”) company focused on energy resources in Africa. ERN’s headquarters is located at 1330
Post Oak Blvd., Suite 2250, Houston, Texas 77056 (the “Houston Facility”). As an E&P
company, ERN’s strategy has been to acquire and develop high potential E&P assets in Sub-
Saharan Africa, and to explore those assets through strategic partnerships with national oil
companies, indigenous local partners, and other independent oil companies

7. The Debtors own valuable oil and gas assets, both onshore and offshore, that they
have acquired and prepared for development over the years. The Debtors’ strategic acquisitions
and aggressive E&P strategies have helped sustain their growth and success ERN’s shares are
now traded on the New York Stock Exchange and on the Johannesburg Stock Exchange under

the symbol “ERN.” Unfortunately, a number of factors - including regulation and the prolonged

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commodity downturn ~ have had a material adverse effect on ERN’s financial condition The
Debtors filed these Bankruptcy Cases to overcome these impediments and ensure fair and
equitable distributions to their creditors

8. The Debtors in these Bankruptcy Cases include Erin Energy Corporation
(“ERN”), and its subsidiaries Erin Energy Ltd. (“EEL”), Erin Petroleum Nigeria Limited
(“EPNL”), and Erin Energy Kenya Limited (“EEKL”). ln total, ERN has ten (lO) wholly owned
subsidiaries and one partially owned subsidiary

9. Founded in 2012, EEL is a wholly owned subsidiary of ERN organized under the
laws of the Cayman lslands. EEL is also the parent of EEKL.

lO. EPNL is a limited company incorporated under the laws of the Federal Republic
of Nigeria. Founded in 2009, EPNL is currently the main operating subsidiary of ERN in
Nigeria and accounts for almost all of ERN’s revenues

ll. EEKL is a subsidiary of EEL and is organized under the laws of the Republic of
Kenya. Founded in 2012, EEKL was the operating subsidiary of ERN in the country of Kenya.
As set forth in Section C(iv), below, although EEKL holds two licenses in the country, there are
no ongoing operations in Kenya.

12. F or ease of reference, a corporate organizational chart identifying the Debtors is

set forth below.

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B. Executive Offices and International Facilities

l3. ERN’s Houston Facility covers approximately 13,2()0 square feet of office space
and is under a lease which commenced on July l, 2012, and ends on October 31, 2019. ln
addition to the Houston Facility, ERN has leased office facilities located in Lagos, Nigeria,
Nairobi, Kenya, and Accra, Ghana.
C. C_urrent Oil and Gas Assets and Ope_rgtions

l4. Currcntly, ERN’S asset portfolio consists of five licenses across Nigeria, Ghana
and The Gambia covering an area of approximately 1.5 million acres. ERN and its subsidiaries
focus their efforts on acquiring and developing high-potential exploration and production assets
in these countries The map below sets forth a visual representation of the geographical locations

of ERN’s oil and gas operations on the continent of Africa.

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15. As described above, ERN’s operating subsidiaries in Africa include EPNL,
EEKL, Erin Energy Gambia Ltd., and Erin Energy Ghana Limited. A breakdown of the
Debtors’ operations across each country is detailed below.

i- MM

16. On August 28, 2002, Allied Energy Plc (“Allied”) and CAl\/IAC lnternational
(Nigeria) Limited (“CINL”), each related parties, Were granted Oil Mining Leases 120 and 121

(the “OMLS”) located offshore Nigeria by the Federal Republic of Nigeria. Pursuant to a Deed

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of Assignment dated July 22, 2005, Allied and CINL assigned to Nigerian Agip Exploration
Limited (“NAEL”), a subsidiary of the international oil and gas company Eni SpA, a forty-
percent (40%) participating interest in the OMLs, with the remaining sixty-percent (60%)
participating interest in the OMLs being retained by Allied and CINL.

17. In April 2010, ERN, through EPNL, acquired certain economic interests in the
0yo Field through the purchase of that portion of Allied’s and CINL’s rights in the Production
Sharing Contract (the “Nigeria PSC”) relating to the Oyo Field in exchange for cash and the
issuance to CEHL of shares of ERN’s Common Stock. ln the 2010 transaction, CEHL became
the majority shareholder of ERN. As part of the transaction, ERN gave CEHL registration rights
With respect to these shares

18. ln February 2011, ERN acquired all of Allied’s and ClNL’s rights in the Nigeria
PSC outside the Oyo Field for cash and ERN’s agreement to make additional payments,
contingent upon completion of specified milestones in any future exploration and development
of the OMLS outside of the Oyo Field.

19. In .lune 2012, Allied acquired all of NAEL’s participating interest in the Ol\/lLs
and all of NAEL’s interest in the Nigeria PSC for $250.0 million in cash subject to certain
adjustments As a result of this transaction, Allied became the operator of the OMLs and the
holder of the interests in the Nigeria PSC apart from the interests previously acquired by ERN in
2010 and 2011.

20. ln November 2013, the ERN entered into a Transfer Agreement (the “Transfer
Agreernent”) pursuant to Which the ERN agreed to acquire from Allied, a wholly owned
subsidiary of CEHL (the 57.2% majority stockholder of ERN), all remaining economic interests

in the Nigeria PSC and related assets, contracts and rights pertaining to OMLs 120 and 121

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including the currently producing Oyo Field (the “Allied Assets”). ln consideration for the
Allied Assets, ERN agreed to issue 497,454,857 shares of ERN’s Common Stock, deliver to
Allied a $50.0 million convertible subordinated promissory note and pay $170.0 million in cash
(the “Allied Transaction”). The Allied Transaction closed February 21 , 2014. The transfer of the
Allied Parties’ contractual rights to the Nigeria PSC was accomplished by novation of all of
Allied’s and CINL’s right, title and interest in and to the Nigeria PSC through a novation
agreement that was effective upon the closing of the Allied Acquisition. Upon completion of the
Allied Acquisition, ERN, though EPNL, owned one hundred percent (100%) economic interest
in the Nigeria PSC covering the OMLS (though Allied retained bare title to the OMLs).
Subsequent to the Allied Acquisition, ERN and EPNL made substantial investment in the
development of the Allied Assets.

21. Despite having acquired or developed a number of producing assets in the Oyo
Field, heavy regulation by the Nigerian government as well as disputes with lenders have
severely hampered the Debtors’ operations For example, during the period from May to
September 2015, the Debtors produced approximately 1.5 million barrels (“Bbls”) of crude oil
but were only able to sell approximately 0.6 million Bbls due to delays in the issuance of
permits Specitically, the enforcement of certain control measures implemented by the Nigerian
government With regards to the quarterly sale of crude oil products from Nigeria forced the
Debtors to curtail production on the Oyo-8 well in Septernber 2015.

22. Similarly, in August 2017, EPNL commenced drilling the Oyo-9 well, and in
October 2017, completed the drilling phase. Both the engineering and manufacturing of subsea

equipment are at various stages of completion However, due to delays in the release of

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remaining funds and improper interference by the guarantor of the MCB Finance Facility
(defined below), EPNL suspended completion and hookup of Oyo-Q.

23. Currently, ERN derives the totality of its revenue from the sale of crude oil in
Nigeria. As a result, ERN’s revenues and ultimate profitability, the value of its reserves its
access to capital, and its growth as a company are subject to the prevailing prices of crude oil
Which have seen a prolonged downturn in recent years

ii. Q_l_/zgpg_

24. ln April 2014, ERN, through Erin Energy Ghana Limited (“EEGH”), signed a
Petroleum Agreement with the Republic of Ghana (the “Ghana Agreement”) relating to the
Expanded Shallow Water Tano block (“ESWT”) offshore Ghana. The contracting parties
holding interests in the block are EEGH (60% ownership) as the operator, GNPC Exploration
and Production Company Limited (25% ownership), and Base Energy (15% ownership)
(collectively, the “Ghana Agreement Parties”). The Ghana Agreement required the Ghana
Agreement Parties to determine the economic viability of three previously discovered fields in
the ESWT block within nine months of the effective date. In addition the Ghana Agreement
provided for an initial exploration period of two years from the effective date, with specified
work obligations during such time.

25. ln January 2015, the Ghana Agreement became effective In October 2015, at the
completion of the economic evaluation described above, the Ghana Agreement Parties concluded
that the fiscal terms of the Ghana Agreement had to be adjusted to achieve commerciality under
the current economic conditions This conclusion is currently under review by the Ghanaian
government ln the interim, the government granted an extension of the initial exploration period

through the end of July 2018. EEGH has submitted an application for an additional extension

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and continues to work with the Ghanaian government and its partners to progress the
development activities in the ESWT block offshore Ghana.

iii. T he Gambia

26. ln May 2012, ERN, through Erin Energy Gambia Ltd. (“EEGL”), signed two
Petroleum Exploration, Development & Production Licenses With The Republic of The Gambia
for offshore exploration blocks A2 and A5 (the “Gambia Licenses”). EEGL operated both
blocks, with the government having the right to participate up to a fifteen percent (15%) interest,
following approval of a development and production plan

27. The term of the initial exploration period for both blocks, now extended through
December 2018, required EEGL to interpret certain seismic data that was acquired in 2015 and
2016, and to drill an exploration Well on either block and evaluate the results EEGL is still in
the process of interpreting the seismic data.

iv. ]_(e_nyg

28. ln May 2012, ERN, through its subsidiary, EEKL, entered into four production
sharing contracts with the Government of the Republic of Kenya, covering onshore exploration
of blocks LlB and L16, and offshore exploration blocks L27 and L28 (the “Kenya PSCS”).
EEKL was the operator of these blocks, subject to the government’s right to participate up to
twenty percent (20%). EEKL is responsible for all exploration expenditures

29. ln accordance with the Kenya PSCs, EEKL conducted exploration activities
during the initial exploration period for the onshore blocks The initial exploration period ended
in June 2015, and EEKL received approval from the government for an additional exploration
period for the blocks This period ended in July 2017. ln June 2017, ERN wrote off the costs

related to onshore blocks, and declined to renew or extend the leases

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30. The Kenya PSCs for the offshore blocks provided for an initial exploration period
of three years, through August 2015. In August 2015, EEKL received approval from the
government for an extension of the initial exploration period, which lasted through February
2017. Again, ERN wrote off the costs related to the offshore blocks and declined to renew or
extend the leases The Debtors have not engaged in further E&P activities in Kenya.

II. SECURED AND UNSECURED DEBT
A. Secured Debt Facilities

31. The Debtors have incurred a substantial amount of debt in order to sustain
operations As of December 31, 2017, the Debtors owed approximately $312.1 million to
various lenders, excluding ordinary course trade debt. The Debtors’ secured debt includes:

0 SSl.S million net of discount, under a term credit facility with Zenith Bank PLC (the
“Zenith Facility”); and

¢ $66.5 million outstanding on a Mauritius Commercial Bank Limited Finance Facility (the
“l\/ICB Facility”).

32. The Zenith Facility is secured by first liens in substantially all of EPNL’s assets,
including EPNL’s cash on deposit with Zenith. The MCB Facility is secured by second liens
upon substantially all of EPNL’s assets Additionally, Public Investment Corporation Soc Ltd.
(“PIC”), a significant shareholder of ERN, has guaranteed the MCB Facility pursuant to a
US$100,000,000.00 Payment Guarantee issued by The Standard Bank of South Africa Limited.

33. The terms of the Zenith Facility and the MCB Facility also restrict the terms of
any future indebtedness and the Debtors’ ability to comply with such restrictions and covenants
is unclear Further, the Debtors risk cross-default for each Related Party Note if the holder of the
Zenith Facility exercises its right to terminate the Zenith Facility and accelerate its maturity.

B. Unsecured Debt Facilities

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34. The Debtors have also incurred significant unsecured debt, including:

$27.3 million outstanding under a borrowing facility with Allied in the form of a
promissory note (the “2011 Note”);

$61.4 million outstanding in aggregate principal under the 2014 Convertible
Subordinated Note (the “2014 Note”) with Allied;

$55.8 million outstanding under a borrowing facility with Allied in the form of a
convertible note (the “2015 Note”);

$7.4 million outstanding under the 2016 James Street Capital Partners Limited Note (the
“2016 JSC Note”);

$11.7 million outstanding under the 2017 J ames Street Capital Partners Limited Note (the
“201 7 JSC Note”);

$200,000 under a 2017 short term loan with CAMAC Nigeria Limited.

35. Allied, a related party to the Debtors, was the original lender and holder of the

2011 Note, the 2014 Note and the 2015 Note (collectively, the “Related Party Notes”). ln July

2017 , Oltasho became the holder of the Related Party Notes and subsequently agreed to Waive its

rights under all default provisions of each note.

C.

Trade Debt

36. ln addition to the secured debt, the Debtors’ have substantial unsecured debt owed

to numerous trade creditors among others Due to the various liquidity issues described herein,

the Debtors do not have sufficient cash flow to pay the trade payables.

A.

III. EVENTS LEADING TO BANKRUPTCY

Financial Issues

37. As a result of (i) the current low commodity prices, (ii) a history of low oil

production volumes due to the shut-in of the Oyo-8 well from September 2015 to May 2016, and

(iii) the continued shut-in of the Oyo-7 Well, the Debtors have not been able to generate

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sufficient cash from operations to satisfy certain obligations as they become due. These factors
have significantly harmed the Debtors’ financial position, and as a result, ERN incurred losses
from operations in each of the past three fiscal years As of December 31, 2017, ERN’s total
current liabilities of $398.3 million exceeded its total current assets of $51.2 million, resulting in
a working capital deficit of $347.0 million

38. As a result of the delays or abatements in production described above, the Debtors
have been relying on drawdown under the MCB Facility and the 2016 Note to supplement their
liquidity needs for the development of their assets ln or about October 2017, PIC, who, via a
Financial Support Agreement, is a guarantor for the MCB Facility, began to wrongfully control
the approval and payment of hinds under the MCB Facility. As a result of PIC’s tortious
interference, the Debtors were unable to make timely payments to various critical vendors
resulting in severe disruptions in EPNL’s operations On or about January 17 , 2018, ERN and
EPNL filed an Griginal Complaint against PIC in the District Court for the Southern District of
New York.
B. Pending Legal Matters in Nigeria

39. EPNL’s Nigerian operations have been hampered as a result of certain disputes
related to the Debtor’s predecessor in interest in the Oyo Field - Allied. Specifically, Allied
defaulted on certain payment obligations to NAEL related to the NAEL Transaction, described
above. In 2016, nearly four years after the conclusion of the NAEL Transaction, NAEL
commenced an arbitration proceeding in the London Court of lnternational Arbitration (“LCIA”)
based on claims that Allied failed to pay the consideration required by the Allied Transfer
Agreement. The case was LCIA Arbitration No. 132498 (the “Arbitration”). The record of the

Arbitration demonstrates that NAEL was aware of the Allied Acquisition, and that EPNL, not

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Allied or CINL, was the economic owner of the OMLs Indeed, both the Allied Acquisition and
EPNL’s ownership of the OMLs Were the subject of numerous news articles and public filings
made by ERN with the Securities and Exchange Commission.

40. Following the conclusion of the Arbitration, on February 14, 2017, the LCIA
issued a Final Award in favor of NAEL against Allied and CINL (the “Arbitration Award”)
which required payment by Allied of approximately $205,000,000, plus interest, and an
additional amount for reimbursement of NAEL’s legal fees, expenses and other costs ln April
2017, NAEL sought enforcement of the Arbitration Award against Allied and CINL in Lagos,
Nigeria. Specifically, on April 20, 2017, NAEL filed an Ex-Parte Originating Summons in the
Federal High Court, Holden at Lagos Nigeria (the “Nigeria Court”). The Ex-Parte Originating
Summons sought the enforcement of the Arbitration Award against Allied and ClNL pursuant to
the Nigerian Arbitration and Conciliation Act.

41. On May 15, 2017, the Nigerian Court issued an order granting leave to NAEL for
the recognition and enforcement of the Arbitration Award (the “Nigerian Enforcement Order”).
On May 30, 2017, the Deputy Chief Registrar of the Nigerian Court issued a Certificate of
Judgment with respect to the Arbitration Award. On June 23, 2017, Allied and CINL filed a
l\/Iotion Upon Notice with the Nigerian Court seeking, among other things, an order vacating the
Nigerian Enforcement Order, vacating and setting aside the Certificate of Judgrnent, and staying
the execution or enforcement of proceedings pursuant to the Nigerian Enforcement Order.
Allied and ClNL’s Motion Upon Notice was rejected by the Nigerian Court.

42. On January 23, 2018, the Nigerian Court issued the following three documents (i)
a Judgment Summons and Order of Commitment naming Allied, (ii) a Judgment Summons and

Order of Commitment naming CINL, and (iii) a Writ of Attachment and Sale of Goods naming

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both Allied and CINL (the “Writ”). The Writ purported to grant NAEL the right to pursue the
assets of Allied and ClNL located “within the Lagos Judicial Division.” However, as neither
Allied nor ClNL are affiliates of ERN or EPNL, the Debtors maintain that the Writ constitutes an
improper implementation of the Nigerian Enforcement Order against the Debtors’ assets in the
Oyo Field and is an abuse of legal process

43. On January 31, 2018, NAEL, in conjunction with armed personnel from the
Nigerian navy and police force, and sheriffs of the Nigerian Court, and under the guise of a
routine naval inspection landed a helicopter on the FPSO Armada Perdana (the “FPSO”). The
FPSG is EPNL’s (not Allied’s or CINL’s) production and offtake vessel for OML 120
operations The FPSO is owned by Bumi Armada Berhad, a Malaysia-based international
offshore oilfield services provider. The crude oil on board the FPSO belonged to EPNL. Once
on board, NAEL’s agents forced their way into restricted areas of the FPSO and chained and
counter-locked the vessel’s main export valve. NAEL asserted that EPNL’s crude oil stored on
the FPSO was being seized pursuant to the Writ, although such assets belonged to neither Allied
nor CINL.

44. On February 12, 2018, Allied and CINL filed an Application for Mandatory
Injunction with the High Court of Lagos State, in the Lagos Judicial Division (the “Lagos
Court”). On February 20, 2018, NAEL filed a Preliminary Objection seeking an order to strike
the Application for Mandatory Inj unction, and also sought enforcement of the Writ.

45. On March 2, 2018, EPNL filed a Motion on Notice with the Lagos Court seeking
an order setting aside the Writ and the purported execution carried out by NAEL on January 31,
2018, due to the fact that (i) EPNL is the owner of the crude oil on the FPSO, (ii) the Writ did

not authorize NAEL to attach EPNL’s crude oil, and (iii) the attachment of EPNL’S crude oil

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interfered with its constitutionally protected property rights On March 8, 2018, the Lagos Court
ruled that NAEL’s conduct in attempting to enforce the Writ in both the Nigerian Court and the
Lagos Court Was an “abuse of process.”

46. On March 14, 2018, Allied and CINL filed a Notice of Preliminary Objection
with the Court in which Allied and CINL stated, inter alia, that they did not have title in the
property or assets attached to the Writ _ meaning the FPSO and crude oil contained on it.

47. On March 16, 2018, the Department of Petroleum Resources (“DPR”), Which is
part of the Ministry of Petroleum Resources of the Nigerian government, and the primary oil and
gas regulator in Nigeria, wrote a letter to NAEL stating that NAEL must “unlock the export
valve at the Oyo Field Terminal [on the FPSO since] the operation (lock/unlock) of which is
statutorily vested in the [DPR].” ln short, the DPR advised NAEL that in attempting to enforce
the Writ, it had violated the legal authority of the DPR to control the export valve on the FPSO.

48. EPNL had an offtake of crude oil from the FPSO scheduled for March 27-28,
2018. Generally, a government permit is required for such an offtake. However, due to NAEL’s
improper use of the Writ and its continued interference with EPNL’s operations the DPR was
unwilling to issue such a permit, causing the scheduled offtake to be delayed. On April 12,
2018, EPNL received a copy of Written correspondence from DPR stating that it would suspend
processing the required permit indefinitely until such a time as the Writ, as it specifically applied
to the FPSO and EPNL’s operations Was vacated.

49. On April 19, 2018, in a Form 8-K filing, ERN announced an emergency shutdown
of the FPSO, which resulted in the shut-in of the Oyo-S well. Although the Debtors intend to
continue challenging the legality of the execution against the Debtors’ assets the immediate

result of the Writ and Nigerian Enforcement Order has resulted in the Debtors’ inability to

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market produced hydrocarbons from the Uyo Field. Accordingly, the Debtors have suspended
all Nigerian operations

50. In Sum, the Debtors’ inability to service their mounting debt obligations and other
trade payable obligations as well as the complex Nigerian litigation pending against the Debtors
has resulted in a severe cash-flow shortage Prior to filing the petitions the Debtors used
substantially all of their remaining cash to fund existing payroll obligations Through these
Bankruptcy Cases the Debtors seek protection and enforcement of the automatic stay with
respect to the Debtors’ assets including the Allied Assets while the Debtors seek an alternative
source of funding pending resolution of the Nigerian litigation lf the Debtors are unable to find
a source of funding or to resolve the Writ and resume Nigerian operations the Debtors’
temporary cessation of operations Will become permanent, and the Debtors will be required to
liquidate their remaining assets

IV. FIRST DAY MOTIONS

51. Below is an overview of the First Day Motions. The First Day Motions seek relief
intended to facilitate a smooth transition for the Debtors into the Bankruptcy Cases and minimize
disruptions to the Debtors’ business operations Capitalized terms used but not otherwise
defined in this section of this Declaration shall have the meanings ascribed to them in the
relevant First Day Motion.
A. Debtors’ Emergency Motion for Entry of an Order Authorizing .Ioint

Administration of Chapter 11 Cases Pursuant to Rule 1015(b) of the Federal Rules
of Bankruptcy Procedure (“Joint Administration Motion”)

52. ln the Joint Administration Motion, the Debtors request entry of an order
directing procedural consolidation and joint administration of the Bankruptcy Cases The

Debtors are “affiliates” as defined in Bankruptcy Code § 101(2).

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53. l believe that Joint Administration of the Bankruptcy Cases Will save the Debtors
and their estates substantial time and expense because joint administration of these cases will
remove the need to prepare, replicate, file, and service duplicative notices applications and
orders Further, joint administration will relieve the Court of entering duplicative orders and
maintaining duplicative files and dockets The United States Trustee for the Southern District of
Texas and other parties in interest will similarly benefit from joint administration of these
Bankruptcy Cases by sparing them the time and effort of reviewing duplicative pleadings and
papers

54. l do not believe joint administration will adversely affect creditors’ rights because
the Debtors request only the administrative consolidation of the estates The Debtors do not seek
substantive consolidation As such, each creditor may still file its proof of claim against a
particular estate. Accordingly, on behalf of the Debtors I respectfully submit that the Joint
Administration Motion should be approved

B. Debtors’ Emergency Motion For Entry Of An Order Extending The Time To File
Schedules And Statements (“Schedules Motion”)

55. In the Schedules Motion, the Debtors seek entry of an order (i) extending the
deadline by which the Debtors must file their schedules of assets and liabilities schedules of
current income and expenditures schedules of executory contracts and unexpired leases and
Statements of financial affairs (collectively, the “Schedules and Statements”) by thirty (30) days
for a total of forty-four (44) days from the Petition Date, through and including May 8, 2018.

56. To prepare the Schedules and Statements, l understand that the Debtors must
compile information from books records and documents maintained by each of the Debtors

relating to the claims of hundreds of creditors as well as the Debtors’ many assets and contracts

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Given the scope of the Debtors’ operations it will take substantial time to gather and process
such information The Debtors have a limited number of employees with detailed knowledge of
the Debtors’ financial affairs and the skill to perform the necessary review and analysis of the
Debtors’ financial records ln light of the size and complexity of the Debtors’ businesses and
the resulting significant amount of work required to complete the Schedules and Statements as
well as the competing demands on the Debtors’ employees and professionals to assist in critical
efforts to stabilize the Debtors’ business operations during the initial post-petition period, l
believe an extension is necessary.

5 7. l believe the requested extension also will aid the Debtors in efficiently preparing
accurate Schedules and Statements as it will allow the Debtors to account for prepetition
invoices not yet received or entered into their accounting systems as of the Petition Date, and
will minimize the possibility that any subsequent amendments to the Schedules and Statements
are necessary. As such, l believe the extension will benefit not only the Debtors but all creditors
and other parties in interest Although the Debtors with the assistance of their professional
advisors have begun to compile the information necessary for the Schedules and Statements the
Debtors have been consumed with a multitude of other legal, business and administrative
matters in the weeks prior to the Petition Date. Nevertheless, recognizing the importance of the
Schedules and Statements in these Bankruptcy Cases the Debtors intend to complete the
Schedules and Statements as quickly as possible under the circumstances

58. In view of the amount of information that must be assembled and compiled, and

the limited time available to do so, I believe that ample cause exists for the requested extension

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C. Debtors’ Emergency Motion For Entry of an Order Pursuant to Sections 105(a), 362
and 365 of the Bankruptcy Code Enforcing and Restating Automatic Stay and Ipso
Facto Provisions (“Stay Motion”).
59. ln the Stay l\/lotion, the Debtors seek entry of an order enforcing the automatic
stay as to their operations in Africa as whole, and more specifically in regards to their critical
Nigerian assets Given that the Debtors’ Nigerian operations are currently the primary source of

revenue for ERN, enforcement of the automatic stay with respect to EPNL’s assets will be

critical to the success or failure of these Bankruptcy Cases

Signed on this the th day of April, 2018.

   
 

By:
Sakiru Adefemi (Femi) Ayoade
Chief Executive ()f`ficer

Erin Energy Corporation

 

